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 1   BARRY J. PORTMAN
     Federal Public Defender
 2   JOYCE LEAVITT
     Assistant Federal Public Defender
 3   555 12th Street, Suite 650
     Oakland, CA 94607-3627
 4
     Counsel for Defendant GATLIN
 5

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                               )
                                                             )   No. CR 06-00189 SBA [WDB]
12                                Plaintiff,                 )
13                                                           )   STIPULATION AND ORDER
              v.                                             )   MODIFYING CONDITIONS OF
14                                                           )   PRETRIAL RELEASE
     CARL GATLIN,                                            )
15                                                           )
                                                             )
16
                               Defendant.                    )
17
18        IT IS HEREBY STIPULATED, by and between the parties to this action, that the conditions
19
     of pretrial release for defendant Carl Gatlin may be modified to allow Mr Gatlin to travel to the
20
     Eastern District of California at the discretion of United States Pretrial Services. Mr. Gatlin
21
     would like to travel to the Eastern District of California because his long-time girlfriend, Laquita
22

23   Cotton, is expecting the couple’ s first child in mid-June, 2006. Ms. Cotton lives in Sacramento,

24   California. Mr. Gatlin would like to be able to travel to Sacramento, California, so that he can be
25
     with Ms. Cotton when she has the baby and also assist in caring for the baby. In addition, Ms.
26
     Cotton has an appointment on June 1, 2006, at 9:30 a.m. in Kaiser Sacramento, to tour the

     TRAVEL ORDER                                    -1-
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 1   hospital and for pre-registration. Mr. Gatlin would like to accompany her to this appointment to
 2
     learn more about what will happen when his girlfriend goes into labor.
 3
          Counsel for Mr. Gatlin spoke with United States Pretrial Services Officer Anthony
 4
     Granados, who works closely with United States Pretrial Services Officer Richard Sarlatte. Mr.
 5

 6   Sarlatte is in training. Mr. Granados indicated that Mr. Gatlin has been in compliance with his

 7   conditions of release and that Mr. Granados has no objection to Mr. Gatlin’ s proposed travel on
 8
     June 1, 2006, so long as the Court modifies Mr. Gatlin’ s conditions of release to allow him to
 9
     travel to the Eastern District of California.
10
                                                            /S/
11

12   DATED:       May 31, 2006                   _________________________
                                                 JOYCE LEAVITT
13                                               Assistant Federal Public Defender
14
                                                          /S/
15 DATED:        May 31, 2006                   _________________________________
                                                GARTH HIRE
16                                              Assistant United States Attorney
17
18

19                                       SIGNATURE ATTESTATION

20        I hereby attest that I have on file all holograph signatures indicated by a “conformed”
21 signature (“/S/”) within this efiled document.

22

23

24

25

26


     TRAVEL ORDER                                     -2-
      Case 4:06-cr-00189-SBA         Document 110         Filed 05/31/06                      Page 3 of 3




 1

 2

 3
                                              ORDER
 4
         GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the conditions of pretrial
 5

 6 release for Carl Gatlin may be modified to allow him to travel to the Eastern District of California

 7 with the approval of an officer from the United States Pretrial Services Office.
                                                                   S DISTRICT
 8                                                              ATE           C
         SO ORDERED.                                           T




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                                                                           ORDER

                                                     UNIT
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10 DATED: May 31, 2006                                        IT IS S




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                                                                                     Brazil
11                                                                         ayne D.
                                                     NO

                                                                   Judge W




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13                                                                           R
                                                      ______________________________
                                                      WAYNE D. BRAZIL
14
                                                      United States Magistrate Judge
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     TRAVEL ORDER                                   -3-
